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                          IN THE UNITED STATES DISTRICT COURT FOR                        IN              '^T
                                THE EASTERN DISTRICT OF VIRGINIA              '     r~


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                                    NEWPORT NEWS DIVISION

                                                                                  CLERK U S. OiS I RiCT COURT
   UNITED STATES OF AMERICA                      )                                            Newport Nsv/s
                                                 )
                   V.                            )      Criminal No. 4:23cr78
                                                 )
   LEROY CLYBURN, III                            )
   a/k/a ‘‘Bam”, a/k/a “Clutch”                  )
                                                 )
                   Defendant.                    )

                                       STATEMENT OF FACTS

             Comes now the United States and offers to the Court that     had the above-styled matter

   proceeded to trial the United States would have proven the following facts beyond a reasonable

   doubt:


                  As early as 2023, LEROY CLYBURN. Ill was associating wdth known and unknown

  co-conspirators in the Eastern District of Virginia and began using and selling narcotics.

            2.    On or about November 4. 2023. Derrick Monte Ellis, a/k/a “Savage”, a/k/a

  “TuSavage” (“coconspirator 1”), with the knowledge and assistance of other indicted and unindicted

  coconspirators, took cash and narcotics from another drug dealer (“DP”) when they were all present

  at a location known as "the studio”. CLYBURN was present at “the studio” on this date.

            3.
                  On or about February 6. 2024, a confidential informant (“Cl”) purchased

  approximately 4.02 gross grams of cocaine freebase from CLYBURN, in the parking lot of **74

 North King Street, Hampton, Virginia. The purchase was monitored and recorded via electronic

  surveillance equipment.

            4.    On or about February 11, 2024, a Cl purchased approximately 5.9 gross grams of

 cocaine freebase from CLYBURN. inside **74 North King Street, Hampton, Virginia, apartment



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    . The purchase was monitored and recorded via electronic surveillance equipment.

          5.      On or about February 26, 2024, a Cl purchased approximately 5.9 gross grams of

  cocaine freebase from CLYBURN, inside **74 North King Street, Hampton, Virginia, apartment

    . The purchase was monitored and recorded via electronic surveillance equipment.

          6.      On or about February 29, 2024, a valid search warrant was executed at a residence

  associated with CLYBURN,              74 North King Street, Hampton, Virginia, apartment **. The

  following items were recovered, among other things:

                         a.   Multiple cell phones.

                         b.   Scales,

                         c.   85 pharmaceutical pills, collected from multiple bottles,

                         d. Two knotted bags of what was suspected to be a cutting agent,

                         e.   A broken glass smoking device with suspected narcotic residue, and

                         f.   Two Pyrex measuring cups with suspected narcotic reside.

          7.     On or about February 29, 2024, CLYBURN was arrested for multiple narcotic

  violations, search incident to arrest yielded approximately 6 gross grams of cocaine freebase from

  inside CLYBURN’s right hand side jacket pocket.

          8.     CLYBURN was often with indicted and unindicted coconspirators at locations

  known to have narcotics and firearms at them. Throughout the conspiracy CLYBURN would

  facilitate obtaining narcotics, maintaining narcotics, or the sale of narcotics.

         9.      The acts taken by the defendant, LEROY CLYBURN, III, in furtherance of the

 offenses charged in this case, including the acts described above, were done willfully and knowingly

 and not by mistake or accident. The defendant acknowledges that the foregoing statement of facts

 covers the elements of the offense charged but does not describe all of the defendant's conduct
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  relating to the offenses charged in this case.

          10.    These events occurred in the Eastern District of Virginia.




                                                             Respectfully submitted,

                                                             JESSICA D.ABER
                                                             UNITED STATES ATTORNEY




                                                   By:
                                                             Devon E.A. Heath
                                                             Assistant United States Attorney




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         After consulting with my attorney, LEROY CLYBURN, III, hereby stipulates that the

  above Statement of Facts is a partial summary which is true and accurate, and that, had the matter

  proceeded to trial, the United States would have proved these facts beyond a reasonable doubt.




                                                    EROY            RN, III


         I am LEROY CLYBURN, Ill’s attorney, and 1 have carefully reviewed the above Statement

  of Facts with the defendant. To our knowledge, the decision to stipulate to these facts is an informed

  and voluntary one.




                                                 Julian David Bouchard, Esq.
                                                 Attorney for LEROY CLYBURN, III




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